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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

LONGHORN LOCKER COMPANY,                   §
LLC and AMERICAN                           §
INDEPENDENCE                               §
MANUFACTURING, LLC collectively            §
doing business as LONGHORN                 §
LOCKER, AMERICAN INDENDENCE                §
MANUFACTUING and AIM,                      §
                                           §
                      Plaintiffs,          §
v.                                         §          CIVIL ACTION NO.
                                           §           3:19-CV-02872-K
HOLLMAN, INC., CRYSTAL CLEAR               §
CREATIVE, LLC, KELLIE MATHAS,              §
and TITAN OF LOUISIANA, INC.,              §
                                           §
                      Defendants.          §

                    MEMORANDUM OPINION AND ORDER

        Before the Court is Defendant Hollman, Inc.'s Motion to Dismiss (Doc. No. 23)

(the “Hollman Motion”) and Crystal Clear Creative, LLC and Kellie Mathas' Motion

to Dismiss (Doc. No. 26) (the “Crystal Motion”). After careful consideration of the

arguments presented by the parties and the pleadings before the Court, the Court

GRANTS IN PART the Hollman Motion and the Crystal Motion and DENIES IN

PART the Hollman Motion and the Crystal Motion.

A. BACKGROUND.

        Plaintiffs Longhorn Locker Company, LLC ("Longhorn") and American

Independence Manufacturing, LLC ("American Independence") filed this suit against



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Defendants Hollman, LLC ("Hollman"), Crystal Clear Creative, LLC ("Crystal"), Kellie

Mathas, and Titan of Louisiana, Inc. ("Titan"). The lawsuit asserts various claims

against various Defendants.

       Plaintiff Longhorn and Defendant Hollman are both in the business of

designing, selling, and installing lockers for sports and other teams, and most of the

claims of this lawsuit are based on a project involving the redesign of the New Orleans

Saints locker room in 2016. Longhorn and Hollman were competitors for this project,

and both submitted bids related to redesigning the Saints' locker room. Defendant

Crystal is alleged to be an interior design company that was hired by the Saints in

relation to this project. Ms. Mathas is alleged to be the Crystal employee working on

this project that had knowledge of the business dealings of Longhorn and Hollman in

relation to this project.

       Longhorn alleges that it submitted a confidential bid for the Saints project,

which included proposed locker designs and features, pricing, and other trade secret

information. Longhorn further alleges that Hollman was improperly provided this

information and that this led to Hollman's alleged infringement of Longhorn's

copyrights and misuse of Longhorn's trade secrets.

       Claims against Hollman include: Hollman's alleged direct and indirect copyright

infringement of Longhorn's federally registered copyright; Hollman's alleged copyright

infringement through creation of derivative works of Longhorn's federally registered

copyright; Hollman's alleged direct copyright infringement of Longhorn's pending



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application to register a copyright; Hollman's alleged misappropriation of trade secrets;

Hollman's alleged direct and literal infringement of a Longhorn design patent; and

Hollman's alleged tortious interference with Longhorn's prospective business relations.

       Claims against Crystal and Ms. Mathas include: Crystal's and Ms. Mathas' direct

and secondary copyright infringement of a Longhorn federally registered trademark;

Crystal's and Ms. Mathas' infringement of a Longhorn federally registered trademark

through the creation of derivative works; Crystal's and Ms. Mathas' secondary

copyright infringement based on a pending Longhorn application to federally register

a copyright; and Crystal's and Ms. Mathis' alleged misappropriation of trade secrets.

       Claims against Titan include an alleged breach of contract claim and an alleged

misappropriation of trade secrets claim.

       Longhorn's claim of patent infringement does not stem from the Saints project.

The patent in suit, which is a design patent, was not issued at the time of the Saints

project. Therefore, the claim is based on allegations that Hollman has infringed this

patent based on activity that occurred after the Saints project, including the sale and

offer to sell of infringing lockers.

       In the Hollman Motion, Defendant Hollman moves this Court to dismiss certain

claims asserted against it in this lawsuit. Likewise, in the Crystal Motion, Defendants

Crystal and Ms. Mathas move this Court to dismiss certain claims asserted against

them. There is substantial overlap between many of the arguments of the Hollman




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Motion and the Crystal Motion. For this reason, the Court will address the Hollman

Motion and the Crystal Motion collectively, where appropriate.

B. Copyright Claims Based on Longhorn's '424 Copyright Registration.

       Both the Hollman Motion and the Crystal Motion assert that Longhorn's claims

of copyright infringement based on Longhorn's US Copyright Registration No. VA-2-

153-424 (the "'’424 registration") should be dismissed.

       The '424 registration is entitled "Images of Lockers," and was issued to Longhorn

on February 6, 2018. Longhorn asserts infringement of the '424 registration against

Hollman, Crystal, and Ms. Mathas based on direct infringement, secondary

infringement, and through the creation of derivative works of the registered copyright.

       In the Hollman Motion and the Crystal Motion, Hollman, Crystal, and Ms.

Mathas all assert that these claims should be dismissed because the alleged infringing

renderings of the Hollman lockers only contain, as a matter of law, unprotected

standard features and configurations of a locker. According to these Defendants, since

no protected features of the registration are copied, Longhorn has failed to assert a

claim for relief for which it can recover.

       In response, Longhorn points out that in its Complaint that it has alleged that

the protected image has certain protected expressive elements, which Longhorn has

identified and which are present in the alleged infringing works. Longhorn alleges that

these expressive and protected features depict a unique and highly ornamental sports

locker. These include the allegations that the protected portions of the copyrighted



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work include the creative impression of stylized football themed components;

decorative lighting and trim; the dramatic use of light and shadows; and the selective

coordinated arrangement of light, textures, sizes, shapes, materials, and other elements.

Longhorn argues that individually or collectively many of these features are protected

elements of the copyrighted work and are present in the alleged infringing works.

      The identification of the protected elements of the copyrighted work and the

factual determination of whether those elements are present in the accused works are

not appropriately resolved in a motion to dismiss. Because these claims raise issues that

are not appropriately resolved in a motion to dismiss, the Court DENIES the Hollman

Motion's and the Crystal Motion's request to dismiss the claims of copyright

infringement based on the '424 registration.

      Hollman also argues that Longhorn's claims of copyright infringement based on

alleged derivative works of the '424 registration should be dismissed because Longhorn

fails to identify any Hollman works that could be considered derivative of the '424

registration. Crystal and Ms. Mathas assert that the scope of the registration is limited

to two dimensional art work.

      Longhorn responds to these assertions by pointing out that, in its complaint,

Longhorn has alleged that renderings, drawings, mock up lockers, installed lockers,

brochures, and promotional materials are alleged infringing derivative works and that

this claim is based on Longhorn's right to prevent derivative works that infringe the

copyright, which are not necessarily limited to the same format as the original work. In



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addition, in its Complaint, Longhorn has provided multiple examples of what it asserts

are infringing works.

      The Court agrees that Longhorn has properly plead sufficient plausible facts to

put Hollman on notice as to the works and types of work that Longhorn asserts infringe

the '424 registration, including those that Longhorn alleges are derivative works. For

this reason, the Court DENIES Hollman's, Crystal's, and Ms. Mathas' request to

dismiss these copyright claims based on the '424 registration.

      As a final issue raised in relation to copyright infringement claims based on the

'424 registration, Crystal and Ms. Mathas assert that these claims against them should

be dismissed because Longhorn has not plausibly plead that Crystal and Ms. Mathas

participated in direct or indirect infringement.

      In response, Longhorn points out that it has plead that Crystal and Ms. Mathas

were both intimately involved in the Saints project; both had knowledge of Longhorn's

design and plans; and both participated in working with Hollman to create what

Longhorn asserts are infringing works.

      The Court agrees with Longhorn that the combination of the alleged facts

regarding Crystal's and Ms. Mathas' involvement in the Saints project and interactions

with Longhorn and Hollman plausibly support the inference that Crystal and Ms.

Mathas were sufficiently involved in the alleged infringement. For this reason, the

Court DENIES the request in the Crystal Motion to dismiss this claim against Crystal

and Ms. Mathas.



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C. Copyright Claims Based on Longhorn's '571 Copyright Application.

      Hollman, Crystal, and Ms. Mathas, all, in their respective motions to dismiss,

assert that Longhorn's claims against them based on a pending federal copyright

registration application should be dismissed because the mere filing of an application

to register a copyright does not provide the applicant with any rights of enforcement.

      The application at issue here is case number 1-8073830571 (the "'571

application") filed by Longhorn on September 16, 2019 in which Longhorn is

attempting to register a three-dimensional work called "Sculpture of Locker." The

application has not been approved by or registered by the USPTO. It is currently

pending. Longhorn has alleged that Hollman, Crystal, and Ms. Mathas have directly or

indirectly infringed Longhorn's rights in this application.

      These Defendants argue that these claims should be dismissed because Longhorn

has not plead claims for which it can recover. These Defendants argue that a mere

application for registration of a copyright provides no enforceable right in that alleged

copyright. Therefore, these claims must be dismissed.

      Longhorn appears to argue that since the application is for registration of a

sculpture, which appears to be a derivative work of the '424 registration, and since

Longhorn asserts derivative infringement of the '424 registration, then Longhorn

somehow has the current right to assert infringement of some rights in the '571

application.




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      The Court agrees with the Defendants in that Longhorn's copyright

infringement claims based on the '571 application must be dismissed because Longhorn

currently has no right to sue or recover based on the '571 application. Under the

Copyright Act, a party may not bring a civil action for enforcement of a copyright until

preregistration or registration of the copyright claim. 17 U.S.C. § 411(a). This section

goes on to provide one exception to this limitation. Once the application has been fully

made and paid for and the Copyright Office has refused registration, the copyright

applicant may file suit for infringement if a copy of the complaint is served on the

Register of Copyrights. Id.

      Longhorn does not currently have the right to enforce the copyright of the '571

application. The '571 application has not been registered, as required by statute. The

application also does not meet the one statutory exception. The application for

registration has not been refused. It is still pending. For these reasons, the Court agrees

with the Defendants that all claims asserted in this matter that are based on

infringement of the copyright of the '571 application must be dismissed. The Court

GRANTS the request to dismiss all of Longhorn's claims based on the infringement of

the '571 application.

      The Court notes that it appears that the only reason that Longhorn does not

currently have the right to sue on the copyright of the '571 application is that the

application is currently pending. Eventually, this application will either result in

registration of the copyright or refusal of the application. Once one of these two events



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occurs, it appears that Longhorn will have the right to bring claims based on this

copyright. For this reason, the Court GRANTS Longhorn motion for the Court to grant

leave to amend its complaint to add back into this matter claims based on the asserted

copyright of the '571 registration if facts supporting such a claim arise during the

pendency of this matter.

D. Misappropriation Claims.

      In the Hollman Motion and the Crystal Motion, Hollman, Crystal, and Ms.

Mathas asks the Court to dismiss Longhorn's claims of misappropriation against them.

      All three of these Defendants assert that these claims should be dismissed

because Longhorn has not and cannot plausibly plead that it had trade secrets to be

misappropriated. In making this argument, the Defendants focus on that fact that the

lockers at issue are publicly available for viewing and inspection. The Defendants assert

that lockers, which are very similar to ones that Longhorn proposed to install in the

Saints' locker room, can be viewed and inspected by taking tours of other locker rooms.

The Defendants also point out that Longhorn has distributed promotional materials

regarding similar lockers that depict the design of these lockers. Based on these public

displays of Longhorn's lockers, the Defendants assert that the lockers, their design, and

their appearance cannot be trade secrets.

      Longhorn responds that the assertion that Longhorn had trade secrets goes

beyond the assertion that the visible design and appearance of Longhorn's lockers is a

trade secret. Instead, the claim of misappropriation includes the assertion and



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supporting facts that Longhorn had trade secrets based on the non-visible components

of the lockers and other information included in Longhorn's bid related to the redesign

of the Saints' locker room. According to Longhorn, its lockers have features that are

not visible to public inspection, such as wiring schemes that are on the backside of the

lockers. In addition, the bid information includes other trade secrets, such as the

amounts that Longhorn was willing to accept for the lockers.

      The Court agrees with Longhorn that it has plausibly plead facts that support

its assertion that it had or has trade secrets which were misappropriated by these

Defendants as alleged. The Court further notes that the Defendants, when making

their arguments, appear to confuse Longhorn's ultimate burden to prove the existence

of trade secrets with Longhorn's requirement to plead plausible claims of

misappropriation of trade secrets.

      In the Hollman Motion, Hollman also argues that Longhorn's misappropriation

claim against Hollman should be dismissed because Longhorn failed to plead plausible

facts that Hollman misappropriated Longhorn's alleged trade secrets.

      The Court disagrees. Longhorn has plead plausible facts that, if true, show that:

Longhorn submitted a bid to the Saints; Crystal and Ms. Mathas had access to the

information contained in this bid; Crystal and Ms. Mathas also had significant

discussions and interactions with Hollman regarding locker designs after Crystal and

Ms. Mathas received this information; the lockers that Hollman ultimately provided to

the Saints were similar to those that Longhorn proposed to supply in Longhorn's bid.



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These facts are more than sufficient to infer that during this process, Hollman obtained

improper access to the alleged trade secrets.

       In the Crystal Motion, Defendants Crystal and Ms. Mathas also argue that

Longhorn's misappropriation claim should be dismissed because the claim is preempted

by the Copyright Act.

       A state law claim is preempted by the Copyright Act if the state law claims seeks

to enforce legal or equitable rights that are equivalent to any of the exclusive rights of

a copyright granted under the Copyright Act and that come within the subject matter

of the copyright. 17 U.S.C. § 301(a). If these conditions are met, then "no person is

entitled to any such right or equivalent right in any such work under the common law

or statutes of any State." Id.

       While a portion of Longhorn's state-law-based misappropriation claims may be

based on the design of Longhorn's lockers, the alleged trade secrets are not the same as

what is protected by Longhorn's copyright. Longhorn's copyright protects the visible

expressive elements of Longhorn's registered copyright. Longhorn's misappropriation

claim, as it relates to Longhorn's lockers, seeks to protect alleged secret or concealed

features of the lockers that are not normally visible and that are not depicted in

Longhorn's    copyrighted        images   of   the   lockers.    In   addition,   Longhorn's

misappropriation claim is based on more than features of the lockers, such as the

financial information included in Longhorn's bid to the Saints, which has nothing to




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do with Longhorn's right in its copyright. For these reasons, the Court holds that

Longhorn's misappropriation claims are not preempted by the Copyright Act.

      Since, Longhorn has plead facts that plausibly support its assertion that it had

protectable trade secrets that were misappropriated by the Defendants and since

Longhorn's misappropriation claim is not preempted by the Copyright Act, the Court

DENIES the requests made in the Hollman Motion and the Crystal Motion to dismiss

Longhorn's misappropriation claims.

E. Patent Infringement Claims.

           In the Hollman Motion, Defendant Hollman asserts that Longhorn's claims

of patent infringement asserted against it by Longhorn should be dismissed because

Longhorn has failed to plead plausible facts that show patent infringement that

occurred after the patent was issued.

           These claims are based on the alleged infringement of US Patent No.

D826,602 (the "'602 Patent"), entitled Locker With Folding Seat Back, which was

issued on August 28, 2018 and has been assigned to Longhorn. This design patent

claims an ornamental design for a locker with a folding seat back.

           In order to be liable for patent infringement, a party must make, use, offer

to sell, or sell a patented invention within the United States or import a patented

invention into the United States during the term of the patent. 35 U.S.C. §271(a).

Longhorn's patent infringement claim alleges the sale and offer to sell infringing

inventions.



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           Hollman asserts that Longhorn has not plead any plausible facts that show

a sale or offer to sell a patented invention of the '602 patent. In making this argument,

Hollman points out that the facts alleged by Longhorn regarding infringing activity are

that, during the term of the patent, Hollman posted images of products in its

promotional material that appear to infringe the '602 patent and that Hollman

generally made locker sales. Hollman asserts that the images of the lockers in the

promotional material do not rise to the level of an offer to sell patented inventions

because the promotional materials are not an offer containing all essential terms of the

sale and cannot be unilaterally accepted by a buyer. Hollman also points out that the

alleged facts regarding actual sales that occurred lack sufficient identification of what

was sold to determine if the lockers that were sold were patented inventions. Hollman

asserts that neither of these is sufficient to plausibly plead that Hollman actually sold

or offered to sell infringing lockers during the term of the patent.

           The Court disagrees. These alleged facts show that Hollman sold lockers

during this time period and that Hollman was apparently willing to sell lockers that

appear to infringe the '602 patent. Given these facts, it is plausible to infer that some

of the lockers sold by Hollman are ones that appear to infringe the '602 patent. This is

especially true considering the allegations that Hollman's primary business is the

design, sale, and installation of lockers of this type and that Longhorn is one of

Hollman's main competitors in this market.




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           Since Longhorn has plead plausible facts that support its claim of

infringement of the '602 patent by Hollman, the Court DENIES Hollman's request to

dismiss this claim.

F. Conclusion.

           The Court GRANTS the Hollman Motion's and the Crystal Motion's

request to dismiss all claims asserted in this matter based on Longhorn's '571

application to register a copyright.

           The Court GRANTS Longhorn leave to move the Court to add claims based

on the '571 application to register a copyright, if during the pendency of this matter,

facts occur that give Longhorn the right to sue based on the copyright asserted in the

'571 application.

           The Court DENIES all other relief requested in the Hollman Motion and

the Crystal Motion.

      SO ORDERED.

      Signed July 13th, 2020.




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                                        ED KINKEADE
                                        UNITED STATES DISTRICT JUDGE




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